            Case 3:20-cr-00258-FAB Document 53 Filed 02/25/21 Page 1 of 14



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

     Plaintiff,

v.                                                    CRIMINAL CASE NO.: 20-258 (FAB)

RAFAEL PINA-NIEVES,

     Defendant.


                             MOTION FOR DISCOVERY
                       OF GRAND JURY SELECTION PROCEDURES

          Pursuant to 28 U.S.C. § 1867(f), Rafael Pina-Nieves (“Mr. Pina-Nieves”) respectfully

moves for discovery of this Court’s jury selection plan and any related COVID-19 juror excuse

policies. Mr. Pina-Nieves has an unqualified statutory right to documents reflecting and related to

the procedures by which his grand jury was selected, and a future petit jury will be selected.

          A grand jury returned the Indictment in this case on August 13, 2020, in the midst of the

COVID-19 pandemic. See Indictment, Docket No. 1. The COVID-19 pandemic has affected

distinctive groups differently. Prospective grand jurors may have deferred or been excused from

jury service by, for example, indicating that they had an underlying medical condition that put

them at a higher risk of developing serious health complications from COVID-19 or that they live

with, or provide direct care for, someone with such a condition. Even if the grand jury was

empaneled prior to the commencement of the pandemic, grand jurors may have been excused from

service in light of COVID-related concerns. Additionally, trial in this matter may be held when

the pandemic will be ongoing and prospective jurors who receive a summons for jury service may

seek to defer their service or be excused in light of concerns about contracting COVID-19.




                                                  1
               Case 3:20-cr-00258-FAB Document 53 Filed 02/25/21 Page 2 of 14



           Accordingly, during the unprecedented COVID-19 pandemic, the process by which a grand

    jury or petit jury is ordinarily selected may not comply with the requirement that its members

    represent a fair cross-section of the community and any adjustments made to the ordinary jury

    selection process may not resolve, and may even exacerbate, these concerns. Accordingly, Mr.

    Pina-Nieves respectfully seeks to exercise his statutory right to discovery related to the jury

    selection plan during the COVID-19 pandemic to ensure compliance with his Fifth and Sixth

    Amendment rights.1

                                    I.        DOCUMENTS REQUESTED

           Mr. Pina-Nieves requests the following documents, to the extent they are maintained by

    the Court, be produced by the Clerk of the Court or, to the extent they are in the Government’s

    possession, by the Government:2

         (1)       The Jury Plan for the District of Puerto Rico currently in effect, if different from
                   that available on the Court’s website (Amended Plan for the Random Selection of
                   Grand and Petit Jurors Pursuant to the Jury Selection and Service Act of 1968, as
                   amended,
                   U.S. D. CT. D. P. R., February 9, 2006. https://www.prd.uscourts.gov/sites/default
                   /files/documents/19/Amended_Jury_Plan.pdf (“D. P.R. Jury Selection Plan”)), and
                   a description of any changes that have been made in the selection of prospective
                   jurors due to the COVID-19 pandemic, including instructions given to, and
                   responses from, the Jury Department under the Court’s Frequently Asked Questions
                   about                                                                    COVID-19
                   (Jury Trial FAQ about COVID- 19, U.S. D. CT. D. P.R. https://www.prd.uscourts.
                   gov/ jury-service-frequently-asked-questions-faq-about-covid-19);

1
   The phrase “during the COVID-19 pandemic,” as used in this motion, refers to the time period from March 13, 2020
to present, during which the COVID-19 pandemic has affected operating procedures in this District. On March 13, 2020,
Chief Judge Gelpí continued all jury trials in this District (with the exception of current ongoing trials), effective March
16, 2020, through May 29, 2020. See Order Concerning Jury Trials and other Proceedings Before the United States
District Court for the District of Puerto Rico, Misc. No. 20-088 (GAG), ECF No. 2 (D.P.R. Mar. 13, 2020). Continuance
orders, and orders to conduct hearings via teleconferencing continue to the present, with jury trials resuming as of March
5, 2021 pursuant to a January 5, 2021 Order. See Sixth Amended Order Continuing Civil and Criminal Proceedings until
January 11, 2021, Misc. No. 20-088 (GAG).
2
  Throughout these requests, “documents” includes electronic data and, to the extent that documents and/or data are kept
in accessible electronic form, Mr. Pina-Nieves requests them in that form. Any documents containing personal identifying
information can either be redacted to mask such information or the documents can be produced pursuant to a protective
order.



                                                             2
      Case 3:20-cr-00258-FAB Document 53 Filed 02/25/21 Page 3 of 14




(2)      Documents sufficient to show: (a) the Race, Religion, Sex, Gender, Ethnicity, Year
         of Birth, Zip Code, Income, and Occupation of all grand juries empaneled in the
         District during the COVID-19 pandemic; (b) the Race, Religion, Sex, Gender,
         Ethnicity, Year of Birth, Zip Code, Income, and Occupation of all grand jury
         members excused or deferred from participating in a grand jury after it was
         empaneled in the District; and (c) the Race, Religion, Sex, Gender, Ethnicity, Year
         of Birth, Zip Code, Income, and Occupation of any grand jury members added
         during the COVID-19 pandemic after a grand jury was originally empaneled in the
         District;

(3)      The Juror Qualification Form distributed to potential grand or petit jurors, as
         contemplated in Section 6 of the Court’s Plan, and any additional forms being
         distributed to potential grand or petit jurors during the COVID-19 pandemic;

(4)      The District’s two most recently submitted AO-12 forms;

(5)      Documents sufficient to show: Race, Religion, Sex, Gender, Ethnicity, Year of
         Birth, Zip Code, Income, and Occupation for those individuals on the Master Jury
         Wheel in this District;

(6)      Documents sufficient to show: Race, Religion, Sex, Gender, Ethnicity, Year of
         Birth, Zip Code, Income, and Occupation for those individuals eligible for jury
         service in this District;

(7)      Documents sufficient to show: Race, Religion, Sex, Gender, Ethnicity, Year of
         Birth, Zip Code, Income, and Occupation for those individuals: (a) to whom
         summonses and jury questionnaires were sent, as contemplated by Sections 4, 6, 11,
         and 13 of the Court’s Plan, and (b) those deemed qualified for jury service, as
         contemplated by Sections 4, 6, 11, and 13 of the Court’s Plan;

(8)      Documents identifying for the District all excuses received from potential petit or
         grand jurors and, separately, all excuses accepted from potential petit or grand
         jurors, as contemplated by Sections 7 - 9 of the Court’s Plan, related to the COVID-
         19 pandemic;

(9)      Documents reflecting any policies or practices established by the Court or Clerk’s
         Office for excusing grand or petit jurors during the COVID-19 pandemic;

(10)     Documents sufficient to show: Race, Religion, Sex, Gender, Ethnicity, Year of
         Birth, Zip Code, Income, and Occupation for all prospective jurors for the District
         who have been excused from or granted a deferral of their petit or grand jury service
         for a reason related to the COVID-19 pandemic; and

(11)     Once criminal trials in this District resume, any additional documents or data
         responsive to Request Nos. 2–3 and 5–10 for the period between March 13, 2020



                                           3
           Case 3:20-cr-00258-FAB Document 53 Filed 02/25/21 Page 4 of 14



                and 30 days prior to the scheduled commence of voir dire in this matter.

                                         II.     ARGUMENT

       The Fifth and Sixth Amendments to the United States Constitution guarantee a criminal

defendant the right to an impartial grand and petit jury. The Supreme Court has held that “the

presence of a fair cross section of the community on venires, panels, or lists from which petit juries

are drawn is essential to the fulfillment of the Sixth Amendment’s guarantee of an impartial jury trial

in criminal prosecutions.” Taylor v. Louisiana, 419 U.S. 522, 526, 530–31 (1975). Further, the Court

has explained that “[t]he Fifth Amendment requires the Federal Government to use a grand jury to

initiate a prosecution” and, because the grand jury “controls not only the initial decision to indict, but

also significant decisions such as how many counts to charge and whether to charge a greater or

lesser offense, . . . [t]he integrity of these decisions depends on the integrity of the process used to

select the grand jurors.” Campbell v. Louisiana, 523 U.S. 392, 398–99 (1998); see Peters v. Kiff,

407 U.S. 493, 501, 504 (1972) (plurality op.) (“[W]hatever his race, a criminal defendant has standing

to challenge the system used to select his grand or petit jury, on the ground that it arbitrarily excludes

from service the members of any race, and thereby denies him due process of law.”); see also

United States v. Serubo, 604 F.2d 807, 816 (3d Cir. 1979) (“In federal criminal proceedings, the right

to indictment by an unbiased grand jury is guaranteed by the fifth amendment.”).

         To protect these rights, Congress passed the Jury Selection and Service Act of 1968

 (“JSSA”), which made it “the policy of the United States that all litigants in Federal courts entitled

 to trial by jury shall have the right to grand and petit juries selected at random from a fair cross

 section of the community in the district or division wherein the court convenes.” 28 U.S.C. § 1861.

 For the reasons set forth below, Mr. Pina-Nieves has a statutory right under the JSSA to discovery

 of materials relating to jury selection. The documents listed above are necessary for him to




                                                    4
         Case 3:20-cr-00258-FAB Document 53 Filed 02/25/21 Page 5 of 14



evaluate whether the unprecedented COVID-19 pandemic and the jury selection process and

policies in place during the pandemic result in the impermissible exclusion of distinctive groups.

See 28 U.S.C. § 1867(f).

1.     Mr. Pina-Nieves has an unqualified statutory right to discovery of the jury selection
       materials requested above.

       The JSSA provides that a defendant “may move to dismiss the indictment or stay the

proceedings against him on the ground of substantial failure to comply with the provisions” of the

statute in selecting the grand jury or petit jury. 28 U.S.C. § 1867(a). A violation is “substantial” if

it frustrates any of three principles on which the JSSA is based: “(1) the random selection of jurors,

(2) culling of the jury from a fair cross-section of the community, and (3) the determination of

disqualifications, exemptions, and exclusions based on objective criteria.” United States v.

Kamahele, 748 F.3d 984, 1022 (10th Cir. 2014). “The contents of records or papers used by the

jury commission or clerk in connection with the jury selection process shall not be disclosed,

except . . . as may be necessary in the preparation or presentation” of such a motion. 28 U.S.C.

§ 1867(f).

       Section 1867(f) creates an “unqualified right to inspect jury lists.” Test v. United States,

420 U.S. 28, 30 (1975) (per curiam) (emphasis added). “Because the right of access to jury

selection records is ‘unqualified,’ a district court may not premise the grant or denial of a motion

to inspect upon a showing of probable success on the merits of a challenge to the jury selection

provisions.” United States v. Royal, 100 F.3d 1019, 1025 (1st Cir. 1996); accord United States

v. Williamson, 903 F.3d 124, 133 (D.C. Cir. 2018) (district court erred in denying defendant access

to jury commission records); United States v. Curry, 993 F.2d 43, 44 (4th Cir. 1993) (district court

erred in denying defendant access to master list of jurors from which grand jury indicting him was

selected; remanding to allow review of jury list and opportunity to move for new trial); United



                                                  5
         Case 3:20-cr-00258-FAB Document 53 Filed 02/25/21 Page 6 of 14



States v. Lawson, 670 F.2d 923, 926 (10th Cir. 1982) (district court erred by denying motion to

inspect and copy jury selection materials pursuant to § 1867(f); remanding for opportunity to

inspect records and file motion, with instruction that defendant’s conviction be set aside if

defendant established that method of jury selection violated the law); Government of Canal Zone

v. Davis, 592 F.2d 887, 888–89 (5th Cir. 1979) (district court erred in denying defendant access to

jury selection records; reversing convictions and remanding for appellants to determine whether

jury selection process warrants challenge and whether to exercise their right to a jury trial); United

States v. Alejo-Luzon, CRIMINAL 97-0290CCC, 1999 U.S. Dist. LEXIS 11295, at *2 (D.P.R.

Feb. 17, 1999)(“an unqualified right to inspection is required, not only by the plain text of the

statute, but also by the statute's overall purpose of ensuring grand and petit jurors selected at

random from a fair cross section of the community.”) (citing Test v. United States, 420 U.S. at

30)).

        Mr. Pina-Nieves seeks to exercise his statutory right to discovery. He makes his discovery

requests for the purpose of considering and preparing a motion for relief in light of the COVID-

19 pandemic. Further, each of his requests falls squarely within the ambit of § 1867(f), because

they pertain to “[t]he contents of records or papers used by the jury commission or clerk in

connection with the jury selection process.” 28 U.S.C. § 1867(f).

        Similar requests have recently been granted by a number of courts. For example, in United

States v. Merrick, No. 20-cr-009-JD, 2020 WL 4808634 (D.N.H. Aug. 18, 2020), the court granted

the defendant’s request for discovery of grand juror selection procedures and any related COVID-

19 excuse policies under § 1867(f) in order to evaluate whether to file a motion to dismiss premised

on the impermissible exclusion of African Americans and other minorities from the grand jury.

See also United States v. Eldarir, No. 20-CR-243 (LDH), 2020 U.S. Dist. LEXIS 208405




                                                  6
         Case 3:20-cr-00258-FAB Document 53 Filed 02/25/21 Page 7 of 14



(E.D.N.Y. Nov. 6, 2020) (granting the large majority of defendant’s § 1867 grand jury discovery

requests for indictment returned during the COVID-19); United States v. Knight, No. 3:19-cr-

00038-MMD-CLB, 2020 U.S. Dist. LEXIS 194138 (D. Nev. Oct. 20, 2020) (in case where

indictment was returned during COVID-19 pandemic, granting § 1867(f) motion for access to

grand jury selection materials in order to determine whether to seek relief); United States v.

Sullivan, No. 20-cr-337-WHO-1, 2020 WL 5944433 (N.D. Cal. Oct. 7, 2020) (same).

2.     The requested materials are necessary for Mr. Pina-Nieves to evaluate whether to
       seek relief based on his Fifth and Sixth Amendment rights to an impartial grand and
       petit jury.

       As noted above, Mr. Pina-Nieves need not make any showing to entitle him to discovery

of jury selection materials pursuant to 28 U.S.C. § 1867(f). Nonetheless, Mr. Pina-Nieves

demonstrates below that he is seeking only materials “as may be necessary in the preparation or

presentation of a motion under [§ 1867(a)].” 28 U.S.C. § 1867(f) (emphasis added).

       A.      The document requests seek information necessary to determine whether
               distinctive groups of jurors are being systematically excluded from jury selection
               in a statistically significant way.

       Mr. Pina-Nieves request documents that will provide him with the information necessary

to consider each element of the test for evaluating whether a jury selection procedure provides for

a fair cross section of jurors from the community. To demonstrate that his constitutional rights are

violated by any particular jury selection procedure, Mr. Pina-Nieves would need to show:

               (1) that the group alleged to be excluded is a ‘distinctive’ group in
                   the community;

               (2) that the representation of this group in venires from which juries
                   are selected is not fair and reasonable in relation to the number
                   of such persons in the community; and

               (3) that this underrepresentation is due to systematic exclusion of
                   the group in the jury-selection process.




                                                 7
             Case 3:20-cr-00258-FAB Document 53 Filed 02/25/21 Page 8 of 14



    Duren v. Missouri, 439 U.S. 357, 364 (1979); accord Berghuis v. Smith, 559 U.S. 314, 327 (2010).

           African Americans and Hispanics are “distinctive” groups of jurors. See Holland v. Illinois,

    493 U.S. 474, 478–80 (1990) (“It has long been established that racial groups cannot be excluded

    from the venire from which a jury is selected.”); Garcia-Dorantes v. Warren, 801 F.3d 584, 600

    (6th Cir. 2015) (African Americans and Hispanics are “distinctive” groups); United States v.

    Carmichael, 560 F.3d 1270, 1280 (11th Cir. 2009) (African Americans are a “distinctive” group);

    United States v. Weaver, 267 F.3d 231, 240 (3d Cir. 2001) (African Americans and Hispanics are

    “distinctive” groups); United States v. Lara, 181 F.3d 183, 192 n.1 (1st Cir. 1999) (Hispanics are

    a “distinctive group”; collecting cases from Second and Ninth Circuits holding the same); United

    States v. Shinault, 147 F.3d 1266, 1271–72 (10th Cir. 1998) (Government conceded that “Asians,

    Blacks, and Hispanics are all distinctive groups”); United States v. Gault, 141 F.3d 1399, 1402

    (10th Cir. 1998) (Government conceded that “Hispanics, Native Americans and African

    Americans are distinct groups”). Likewise, the disparate exclusion of those who fall within a broad

    age group may result in the exclusion of a distinctive group. See United States v. DiTommaso, 405

    F.2d 385, 391 (4th Cir. 1968) (“A community cross-section, however, will invariably contain a

    broad representation of individuals of various ages.”).3

           In order to determine whether representation of any distinctive group is not “fair and



3
  Although the Supreme Court has held that “the young” (defined as those under age 25) do not constitute a cognizable
group (Hamling v. United States, 418 U.S. 87, 137 (1974) (pre-Duren); see also United States v. Green, 435 F.3d 1265,
1271 (10th Cir. 2006) (noting that other courts have held that “younger people” and “persons over 70” are not distinctive
groups)), this authority involves the exclusion only of relatively narrow age groups, i.e., the very youngest or the very
oldest potential jurors. The exclusion of a broad band of ages, on the other hand, likely would deprive a defendant of a
cross-section of the community. The Centers for Disease Control and Prevention reports that the hospitalization rate
from COVID-19 for those 40 to 49 is three times greater, and the death rate ten times greater, than for those 18 to 29.
Theses disparities grow dramatically with each older age band. If, for example, jurors 40 or older are not serving
disproportionately from those younger than 40, plainly the resulting petit or grand jury would not reflect a cross-section
of the community with respect to age. See COVID-19 Hospitalization and Death by Age, CTRS. FOR DISEASE
CONTROL & PREVENTION, available at https://www.cdc.gov/coronavirus/2019-ncov/covid-data/investigations-
discovery/hospitalization-death-by-age.html (updated August 18, 2020).



                                                            8
         Case 3:20-cr-00258-FAB Document 53 Filed 02/25/21 Page 9 of 14



reasonable” under the second prong of the Duren test, Mr. Pina-Nieves needs data with which he

can compare those in the community to those in the jury pools in this District. See Duren, 439

U.S. at 364– 66 (data from which statistical comparisons can be drawn is necessary to make out

the second and third prongs). In the First Circuit, the second prong of Duren is evaluated in

relation to the absolute and comparative disparities of a distinct group’s representation in the

community as compared to the jury pool or venire. Census data and the responses to the juror

qualification questionnaires can be used to compute these statistics. See United States v. Pion, 25

F.3d 18, 22 (1st Cir. 1994); United States v. Hafen, 726 F.2d 21, 23 (1st Cir. 1984); United States

v. Levasseur, 704 F. Supp. 1158, 1162 (D. Mass. 1989). The documents Mr. Pina-Nieves requests

seek the demographic data required to make these comparisons (Request Nos. 2, 4–7, 11). See,

e.g., Duren, 439 U.S. at 364–66 (where women make up 50% of the population, but jury venires

contained only 15% women, those venires were not “reasonably representative” of community);

Shinault, 147 F.3d at 1272 (when evaluating whether District of Kansas’ jury selection procedures

unconstitutionally excluded Asians, Blacks, and Hispanics from jury service, appropriate to

compare “minorities’ percentages on the qualified wheel to their percentage in the entire

community”).

       The third prong of the Duren test (“systematic exclusion”) requires a showing of exclusion

over time, i.e., that the exclusion is “inherent in the particular jury-selection process utilized.” 439

U.S. at 366. The documents requested seek information during the COVID-19 pandemic relating

to the procedure by which jurors are considered for service (Request Nos. 1, 3, 9); excuses given

by jurors and accepted by the Court for excusing or deferring jury service (Request No. 8); and

data reflecting those excused from service or whose service was deferred (Request Nos. 10–11).

This information will reflect the Court’s jury selection practices during the COVID-19 pandemic




                                                   9
        Case 3:20-cr-00258-FAB Document 53 Filed 02/25/21 Page 10 of 14



and allow Mr. Pina-Nieves to determine whether the Court’s procedures are systematically causing

distinctive groups to be excluded over this extended period (from March 2020 through August

2020 in the case of the grand jury and through voir dire in the case of the petit jury) in a manner

that violates his Sixth Amendment rights. See Sullivan, 2020 WL 5944433, at *4 (granting §

1867(f) motion and agreeing that “the grounds for excusal and the disposition of juror

qualifications [during the COVID-19 pandemic] are directly relevant to whether the grand jury

was selected at random”); see also, e.g., Duren, 439 U.S. at 366 (“systematic exclusion” shown

where “large discrepancy occurred not just occasionally but in every weekly venire for a period of

nearly a year”).

       B.      There is reason to believe distinctive groups may be disproportionately being
               excluded from jury service in the District of Puerto Rico during the pandemic.

              i.      African-American and Hispanic individuals may be disproportionately
                      being excluded from the jury selection process during the pandemic.

       After many months of enduring and studying the coronavirus, it is now well known that

COVID-19 does not affect all individuals equally. Medical professionals have confirmed that

people of color are at “increased risk of getting sick and dying from COVID-19.” Health Equity

Considerations and Racial & Ethnic Minority Groups, CTRS. FOR DISEASE CONTROL &

PREVENTION (July 24, 2020), https://tinyurl.com/ybwns8j7; see also Wei Li Racial Disparities

in COVID-19, Harvard University, Blog, Scient Policy, Special Edition: Science Policy and Social

Justice (Oct. 24, 2020)(“Within the US, the pandemic is impacting racial groups differently,

disproportionately affecting Black, Indigenous, and People of Color (BIPOC) communities.”)

(available at http://sitn.hms.harvard.edu/flash/2020/racial-disparities-in-covid-19/); Daniel Wood,

As Pandemic Deaths Add Up, Racial Disparities Persist — And In Some Cases Worsen, NPR

(Sept. 23, 2020) “(Data gathered early in the pandemic showed that communities of color are




                                                10
         Case 3:20-cr-00258-FAB Document 53 Filed 02/25/21 Page 11 of 14



disproportionately affected by COVID-19 across the United States. But incomplete data left a

muddy picture of these disparities. Today, as the U.S. has surpassed 200,000 COVID-19 deaths,

and reached nearly 7 million confirmed cases, racial data is more complete, and the trend is crystal

clear: People of color get sick and die of COVID-19 at rates higher than whites and higher than

their   share   of        the   population.”)   (available   at   https://www.npr.org/sections/health-

shots/2020/09/23/914427907/as-pandemic-deaths-add-up-racial-disparities-persist-and-in-some-

cases-worsen); William F. Marshall, III M.D. Coronavirus infection by race: What's behind the

health disparities? (Aug. 13, 2020)(“Research increasingly shows that racial and ethnic minorities

are disproportionately affected by coronavirus disease 2019 (COVID-19) in the United States.”)

(available           at           https://www.mayoclinic.org/diseases-conditions/coronavirus/expert-

answers/coronavirus-infection-by-race/faq-20488802). Recent data from the Centers for Disease

Control and Prevention shows that “Black or African American, Non-Hispanic persons” are 3.7

times more likely to be hospitalized as a result of COVID-19 than “White, Non-Hispanic persons”

and that “Hispanic or Latino persons” are 4.1 times more likely to be hospitalized as a result of

COVID-19 than “White, Non-Hispanic persons.” See https://www.cdc.gov/coronavirus/2019-

ncov/covid-data/investigations-discovery/hospitalization-death-by-race-ethnicity.html        (updated

November 30, 2020).

        A number of courts have acknowledged the disparate effect coronavirus has had on racial

and other minorities. In the course of granting compassionate release under 18 U.S.C. §

3582(c)(1)(A), courts have cited race as a reason an individual may be more susceptible to

suffering extreme illness or dying from COVID-19. See, e.g., United States v. Wheeler, No. 2:11-

cr-36 (MSD), ECF No. 409 at p.9, n. 9) (E.D.Va. June 24, 2020) (“This Court does not intend to

downplay the seriousness of the COVID-19 pandemic, its impact on all aspects of life (inside and




                                                    11
        Case 3:20-cr-00258-FAB Document 53 Filed 02/25/21 Page 12 of 14



outside of prison), or its documented disproportionate impact on the African-American

community.”) United States v. Mason, No. 17-cr-195 (TSC), 2020 WL 4199553, at *1–2 (D.D.C.

July 10, 2020) (“The COVID-19 fatality rate increases with age, is higher for men than women,

and is among the highest for African Americans.”); Order at 10; United States v. Kellogg, No.

1:12-cr-383-CAP-JCF-1 (N.D. Ga. July 8, 2020), ECF No. 405 (noting that African Americans

“are five times as likely to be hospitalized or die from COVID- 19 than a non-Hispanic white

person”).

       Recent studies confirm that African American and Hispanic prospective jurors are less

likely to appear in the jury pool during the COVID-19 pandemic:

               A June [2020] survey of 1,000 registered voters conducted by the
               National Center for State Courts [(“NCSC”)] found that 64% of
               Latino respondents and 58% of Black respondents said they’d report
               for jury duty, compared to 69% of whites. . . . The NCSC poll found
               those least likely to report for jury duty during the pandemic were
               Black and Latina women across the age spectrum, as well as older
               white women. The demographic pools most likely to show up were
               younger white men, conservative white men, and white men without
               a college degree.

Carla Bayles, Can You Get A Fair Jury Trial During The Pandemic?, LAW360 (Aug. 30, 2020),

https://tinyurl.com/y5u9lygu. Experts tether these distinctive groups’ decreased representation in

jury pools specifically to the disproportionate effect that coronavirus is having on them. See id.

             ii.       Certain age groups may be disproportionately being excluded from the jury
                       selection process during the pandemic.

       Although an individual of any age can contract COVID-19, the disease has proven

substantially more harmful and often lethal for older adults. As noted above (supra n. 3), recent

data reflects that those between the ages of 40 and 49 are three times as likely to be hospitalized

from COVID-19 and ten times as likely to die as those aged 18 to 29. Those between the ages of

50 and 64 are four times as likely to be hospitalized from COVID- 19 and thirty times as likely to



                                                12
             Case 3:20-cr-00258-FAB Document 53 Filed 02/25/21 Page 13 of 14



    die as those aged 18 to 29. See COVID-19 Hospitalization and Death by Age, CTRS. FOR

    DISEASE CONTROL & PREVENTION, https://www.cdc.gov/coronavirus/2019-ncov/covid-

    data/investigations-discovery/hospitalization-death-by-age.html (last updated Aug. 18, 2020).

    The documents requested will allow Mr. Pina-Nieves to determine whether individuals in a

    distinctive age group are disproportionately being excluded from the jury pool during the pandemic

    because they are being disproportionately excused from jury service or having their jury service

    deferred.4

                                              III.     CONCLUSION

           Mr. Pina-Nieves seeks to exercise his unqualified statutory right discovery of the District

    of Puerto Rico’s jury selection procedures pursuant to 28 U.S.C. § 1867(f). He has reason to be

    concerned that the jury selection procedures and policies in place during the unprecedented

    COVID-19 pandemic may result in the underrepresentation of racial minorities and older

    individuals in a manner that deprives him of his constitutional rights. He seeks data to which he

    is statutorily entitled. Each of his requests for documents falls within the letter of the statute and

    is necessary for him to assess whether the jury selection procedures in place in this District during

    the COVID-19 pandemic comport with his Fifth and Sixth Amendment rights to an impartial grand

    and petit jury drawn from a fair cross section of the community and, if necessary, to allow him to

    prepare a motion for appropriate relief.

          WHEREFORE, Rafael Pina-Nieves respectfully requests that the Court GRANT this

motion and order the production of the documents requested herein.



4
   This concern is heightened by the fact that the jury selection plan in the District of Puerto Rico even prior to the
pandemic allowed those over 70 to opt out of jury service. See D.P.R. Jury Plan, Section 9(A)(1). Thus, if, for example,
those in their 40’s, 50’s, and 60’s are disproportionately opting out during the pandemic, while people over 70 are opting
out based on age, then the jury pool will be dramatically skewed such that it does not include a fair cross-section of the
community with respect to age.



                                                           13
         Case 3:20-cr-00258-FAB Document 53 Filed 02/25/21 Page 14 of 14



       Respectfully submitted on this 25th day of February 2021, in San Juan, Puerto Rico.

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing with the Clerk

of the Court, using the CM/ECF system, which will provide access to all parties of record.

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                                                14
